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                                                                   District Judge Benjamin H. Settle
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 6
                            UNITED STATES DISTRICT COURT FOR THE
 7                            WESTERN DISTRICT OF WASHINGTON
                                        AT TACOMA
 8
 9
10 RICK OLMTEAD,                                      CASE NO. 3:13-cv-05051-BHS
                                  Plaintiff,
11                                                    DECLARATION OF
                            v.                        ROGER RAY GEHRING
12
     RAY MABUS,
13
                                  Defendant.
14
15             I, ROGER R. GEIIRJNG, declare under penalty of perjury, as provided by 28 U.S.C.
16 § 1746, that the following is true and correct to the best of my knowledge:
17        1.      I am currently employed by the United States Navy, at the Puget Sound Naval
                  Shipyard and Intermediate Maintenance Facility, Bremerton, WA ("Sh ipyard"). I
18
                  have been employed at the Shipyard for 26 years. My current position is General
19                Foreman (Supervisor II) in the Pipeiitter Shop (Shop 56). I have been a
                  supervisor for 15 years. My date of birth is October 21, 1967.
20
21        2.      The Pipeii tter Shop (Shop 56) has a sizable group of Foremen (Supervisor I) and
                  General Foreman (Supervisor IT). Workload varies, so supervision is comprised
22
                  of both permanent supervisors and temporary supervisors. More supervisors are
23                needed when there are more work crews. Temporary supervisors typically revert
                  back to their non-supervisory grade when workload decreases. Lately, this has
24
                  not happened in our shop as the work has been steady. A temporary promotion
25                cannot exceed one year, but can be extended by new personnel action.
26
         3.       A temporary promotion is done competitively, extensions are administrative and
27                do not requ ire a new competition. In my experience the order of events to make
                  up a competitive selection for these positions is, basically: (1) announcement of a
28

     Declaration ofROGER R. GEHRING                                         UNITED STATES AITORNEY
                                                                            700 STEWART STREET, SUITE 5220
     3: 13-cv-05051-BHS                                                       SEATTLE, WASHINGTON 98 10 I
                                                                                    (206) 553-7970
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                    vacanc), (2) a review o f the applicants by a regional personne l office that results
 2                  in a cerulicate of higr ) qualified candidates. (3) a rating of those candidates by a
                    group of supervisors ( Lhe group is selected informally, mostly depending on who
 3                  is avail<~blc). (4) a co1 .parison o1 the ratings. and (5) a final )election by the
 4                  proper authority (for c"Xamplc the Nuclear D rector for all nuclear qualified
                    positions).
 5
          4.        Selections. most!) temporar). arc not uncommon. and I have done ratings as part
 6
                    of the s.!lection proce.. about sc' en or eight times. In early February, 2012. I
                                           C)


 7                  was asked orate a gr np of candidat es from a highly qualified certificate for a
 8                  temporar) General Foreman (Supervisor ll) position. 'l he rating matrix is
                    prov ided to each rate1. fhc matrix contained the follo wing list of attributes to
 9                  rate:
10
     Safety (Promotes ':)all. work    prac u;e~)
I1
     Job Know ledge and Experiencl (P,.ocess KnO\\)edgc. Technical Requirements)
12
     Leadership Skills (Dt...cision making. Accomplish work through others. Accepts the Role.
13
     Initiative)
14
     Dependability (Attendance. Reli ability and Knowledge)
15
     Supports Management Dec1s1ous lALlnudc. Ability to Adm inister Discipline. Policies,
16
     Team Player)
17
     Organizes Self, Others, and Workplace (/\ttemion to detail. Planning. Productivity.
18
     Manages Assignmt:nts I.:.ffcctivel))
19
     Verbal and Written Communication Skills
20
     Ma nage Human Resou rces (Trc. ining. Physicals, and Travel)
21
     Flexibility (Manas.c Change. Priorities Shifts and Travel)
22
     Mentor Skills (abilit) to pass alv.lg to employees work ethics. train ing. etc.)
23
          5.       The list of candidates to rate included: Robert Brown, I-rin Cook, Russ Geier,
24
                   Marty Boykin, and Rick Olmstead . I rated each candidate based on my
25                 knowledge of their skills. As would be expected, I was more familiar with some
26                 candidates than others. but all of my ratings were my ov.n. I he raters do not
                   meet to discuss the candidates. this is meant to be an independent assessment.
27                 The raters do not interYiew the candidates for internal promotions (where all
28
                   candidates already work for the Shipyard).

     Declaration ofROGER R. GEHRD\G                                             t;l\ ITW S l ArES ATTORNEY
                                                                               700 )H\\ \RT S fREET, SUITI:. 5220
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                                                                                            (206) 553-7970
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 2          6.       All of my :atings werl. honest and related only to the criteri a in the rating matrix.
                     I did nc t c<.n::,ider an) >ther factors . I knO\\ ~ach of the canoidates well enough to
 3                   guess their appro:-.ima e ages. but I did not ~10\\ any ages specifically. But. age
 4
                     \·vas not a factor in m) ratings in any wa). nm even the person's approximate age.

 5          7.       A selection for this temporary promotion was made later in February, 20 12, the
 6                   selected candidate wa Erin Cook. I was not surprised b) th ts selection, as I had
                     rated h~r n•) sc.;cond h ·ght.st candtdate fo r the promotion. The person I rated as
 7                   best q ualiii~d ''as Mr. Geier. But. T rated the two of them vel) close, the average
 8                   rating for Mr. Geier \\US 3.5 and fo r Ms. Cook it was 3.45. I rated Mr. Olmstead
                     as the lowest of this group of candidates at 2.9.
 9
10
            8.       I recall nothing unusual about this rating process. this occasion was the same as
                     the other ratings I ha\e performed. I did not hear any comments related to the
Il l                 candidates ages. or an) other improper factors, and I would not have expected to.
12
13
                 I declare under penalty of perjuf) that the foregoing is true and correct.
14
                     Executed this 21 ~~ day of January. 20 14.
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       Declaration of ROGER R. GEHRIKG                                             l l\I I ID S 1/\1 ES ATTORNLY
                                                                                  700 ~Tr\\ \RT STREET, SUI I t 5220
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